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UNITED STATES DISTRICT COUR
WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA
Vv. : Case No. 3:21CRI10

ANNIE NICOLE RITENOUR

AGREED STATEMENT OF FACTS

The United States and the Defendant, ANNIE NICOLE RITENOUR (“RITENOUR’”),
agree and stipulate that the following is true. This Statement of Facts briefly summarizes the
facts and circumstances surrounding the defendant’s criminal conduct. It does not necessarily
contain all of the information obtained during this investigation and applicable to an accurate
Presentence Report and Sentencing Guidelines calculation. This Statement of Facts is not
protected by proffer agreement or any other agreement, and shall be wholly admissible at trial
notwithstanding any Rules or statutes to the contrary, including but not limited to, Federal Rules
of Evidence 408 and 410, and Federal Rule of Criminal Procedure 11.

1. In June 2021, RITENOUR accessed a website on the “darknet” (“Website”)
whose advertisement included statements such as:

e We can kill any person you want, as long as it is not a president or very
important person that is guarded by the military.

e Wean make the murder look accidental, so that Police will not suspect anyone.

e Wealso do kidnappings, beatings, and set fire to properties.

e Murder, wet work, assault, arson can be easily provided worldwide by our
experienced strongmen via a secure way, while you remain fully anonymous

and your order confidential. Thousands of happy customers recommend our
products and services such as drugs, guns, assault, arson, and murder.
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e You can place the order on our marketplace anonymously without providing
your name, email, phone number or address. Only description about the job and
the mark.

e You will need to provide proof you have the funds available, but you pay after
the job is completed.

2. On June 26, 2021, after having set up an account on the Website, RITENOUR
placed an order (“Order”) for the Website’s murder-for-hire services. The Order was titled “shoot
and get away.” With the Order, RITENOUR included a picture of the intended Victim, his
workplace address, and his work hours. She also included the following instructions:

I am just looking for a simple quick job. The address of the person will be the
best place to make the target, as it is his workplace (****’s).! He works 6am
to 3 pm monday through friday. He drives a burgundy 2007 Hyundai Santa
Fe, license plate ***-****,? The days/time I mentioned will be the best time
and place, I would say wait until he’s off at 3 and then make your move.”

3. After placing the Order, RITENOUR made three separate payments to the
Website for the service she was requesting vis-a-vis a Bitcoin ATM. Specifically, on June 23,
2021 and June 24, 2021, RITENOUR paid the Website approximately $3200 to insure the victim
would be murdered.

4. On June 25, 2021, RITENOUR sent an e-mail to the Website asking “How would
I show proof that I have the bitcoin ready for a job to be done?” Hours later, “Juan” from the
“Sinaloa Cartel Cyberteam” responded, “hi, | see you have added funds to escrow. this is proof
you have funds please add difference and we can do job.”

a. On October 27, 2021, RITENOUR was interviewed after having been advised of

her Miranda rights. During the course of the interview, RITENOUR admitted sending the Order

' Redacted to protect the identity of the Victim.
> Redacted to protect the identity of the Victim.

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to the Website, sending the picture of the Victim and instructions noted above, and paying

money to the Website because she was angry with the Victim.

6. RITENOUR placed the Order and communicated with the Website from her
computer while located at her residence in Culpeper, Virginia which is in the Western District of

Virginia.

7. The actions taken by ANNIE NICOLE RITENOUR, as described above, were
taken willfully, knowingly, and with the specific intent to violate the law. ANNIE NICOLE
RITENOUR did not take those actions by accident, mistake, or with the belief that they did not
violate the law.

I, ANNIE NICOLE RITENOUR, have reviewed the above Statement of Facts with my
attorney and believe the facts are true and correct. I agree that had this matter proceeded to trial,

the United States would have proved the facts outlined above beyond a reasonable doubt.

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Date Annie Nicole Ritenour
Defendant

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Date ‘ Erin Trodden

Attorney for Defendant
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Had this matter proceeded to trial, the United States would have proved the facts outlined
above beyond a reasonable doubt. The government reserves the right to present additional

evidence at the time of sentencing regarding relevant uct of the defendant.

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